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                 MONTANA EIGHTEENTH JUDICIAL DISTRICT COURT
                             GALLATIN COUNTY

      Craig Disher and Scott Disher,          )
                                              ) Cause No:D'i. fI}-~ 1 \ B
               Plaintiffs,                    )
      vs.                                     )
                                              )   COMPLAINT AND DEMAND
      State Farm Fire and Casualty Company, )          FOR JURY TRIAL
      dba State Farm or State Farm Group, and )
      DOES I through X                        )
                                              )
               Defendant.                     )

            Plaintiffs, through counsel, state:

                                 JURISDICTION & VENUE

            1.     Plaintiffs, Craig Disher and Scott Disher (the Dishers) own property

      in Gallatin County, Montana.

            2.     Defendant, State Farm Fire and Casualty Company, dba State Farm or

      State Farm Group, is a corporate entity licensed to do insurance business in

      Montana.




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         3.       The true names or capacities, whether individual, corporate,

associated, or otherwise, of Defendants, DOES I through X, inclusive, are

unknown to Plaintiffs. Therefore Plaintiffs sue Defendants DOES I through X by

using these fictitious names. Plaintiffs are informed and believe and on such

information and belief, allege that if each of the Defendants sued as a DOE are

legally responsible in some manner for the events and happenings referred to,

Plaintiffs will ask leave of this Court to amend this Complaint to insert their true

names and capacities in place and instead of the fictitious names when the same

become known to Plaintiffs.

                                      FACTUAL BACKGROUND

         4.       Defendant sold the Dishers an insurance policy to insure their

property, a condominium at 712 Sunburst Drive, Big Sky, Montana.

         5.       The Dishers have owned this property for over ten years and have

insured this property through State Farm. Throughout this time, they have never

made an insurance claim with State Farm.

         6.       Like numerous other Big Sky property owners, the Dishers do not

occupy this condo throughout the year.

         7.       Defendant's insurance policy covers water damage caused by freezing

of plumbing.




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        8.        The policy excludes coverage for frozen plumbing if the property

owner did not use "reasonable care to maintain heat in the building".

        9.        The weather from December 3rd_9th 2013 was unseasonably cold. The

lows ranged from 2 degrees below zero to 29 degrees below zero. The highs were

near or below zero degrees.

         10.      The wind speeds ranged from 8 to 10 miles per hour during this

period and 25 miles per hour on December 3rd.

         11.      The Dishers' property sustained frozen pipes during this cold snap.

         12.      On December 17, 2013, the property manager for the condominium

association discovered that water was flooding throughout the Dishers' condo.

         13.      Several other properties in the Big Sky area likewise sustained frozen

pipes and damage.

         14.      The Dishers have hired people to maintain the condo according to the

Dishers' instructions in their absence for over ten years. The property manager also

checks on the units.

         15.      The Dishers' instructions included keeping the heat in the unit set to

55 degrees when it was not occupied.

         16.      Defendant has denied this claim, taking the position that the Dishers

did not reasonably maintain heat in the condo.




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         17.      The Dishers reasonably maintained heat in the condo as they had done

for over ten years they owned this unit and insured it through Defendant. During

this timeframe, the Dishers never experienced frozen pipes.

         18.      The total cost of repairs for the Dishers' condo was $35,166.39.

         19.      Although this claim is covered, Defendant continues to delay and

deny payment of insurance benefits that are owed to the Dishers.

        20.       It is believed Defendant has engaged in a pattern and practice of illicit

and invalid claim handling rules, practices and/or policies to increase profits at the

expense of legitimate claims made by deserving policyholders such as the Dishers.

         21.      Defendant's conduct violates statutory bad faith laws, or claims

handling rules, practices and/or policies and is a breach of the insurance policy.

         22.      Because of the unreasonable denial of benefits, Defendants have

withheld benefits owed, causing the Dishers' out-of-pocket expenses, loss of use of

money, emotional distress, wasted time and other harms.

         23.      Defendant has acted with actual malice and/or actual fraud as defined

by MCA§ 27-1-221, making punitive damages appropriate to deter this type of

conduct from occurring in this case and in others.

         24.      The Dishers also seek a declaratory ruling. A declaratory ruling is

authorized by Montana's Declaratory Judgment Act, MCA§ 27-8-101 et seq. The

Dishers seek a declaration from this Court as to the parties' rights and obligations.


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                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs demand judgment of and from the Defendant for

all damages allowed by law, costs of suit, and for all other relief to which Plaintiffs

may be entitled, including but not limited to: Declaratory relief, all recoverable

special and general damages, including but not limited to all economic and non-

economic damages, punitive damages, and attorney's fees; all allowable interest;

all recoverable costs; and such other relief as may be just and equitable.

         DATED this G day of November, 2014.

                                                  BIDEGARAY LAW FIRM, LLC

                                                     ~hv?:
                                                  Daniel B. Bidegara
                                                  BIDEGARAY LAW FIRM, LLC
                                                  Attorneys for Plaintiff


                                      DEMAND FOR JURY TRIAL

         Plaintiffs demand a jury trial.

         DATED this \3. day ofNovember, 2014.

                                                  BIDEGARA Y LAW FIRM, LLC


                                                  Daniel B. Bidegar
                                                  BIDEGARAY L W FIRM, LLC
                                                  Attorneys for Plaintiff




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